              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         SHELBY DIVISION

                     CRIMINAL CASE NO. 4:96cr53-2


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                      ORDER
                            )
                            )
ERIC WHEELER.               )
____________________________)

      THIS MATTER is before the Court on the Defendant’s pro se Motion

to Stay Proceedings pursuant to Fed.R.Civ.P. 62(b) [Doc. 704] and Motion

for Correction of Illegal Sentence [Doc. 711].

      At the time that the Defendant filed the first motion to stay

proceedings, he was represented by court-appointed counsel. [Doc. 692].

The Rules of Practice and Procedure of the United States District Court for

the Western District of North Carolina provide that “the Court will not

ordinarily entertain a motion filed by a criminal defendant who is still

represented by counsel and has not formally waived his or her right to

counsel in the presence of a judicial officer after being fully advised of the

consequences of waiver.” L.Cr.R. 47.1(H). That being the case here, the

Court will not entertain this motion.



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     The motion, however, would not have been granted in any event.

The motion was rendered moot when this Court ruled that the Defendant

was ineligible for any sentence reduction pursuant to 18 U.S.C. §3582 due

to the statutory mandatory sentence. [Doc. 707].

     The motion to correct the Defendant’s sentence [Doc. 711] is nothing

more than an attempt to seek relief pursuant to 28 U.S.C. §2255. On

January 22, 2013, the United States Court of Appeals for the Fourth Circuit

denied the Defendant’s motion for authorization to file a second or

successive application for relief pursuant to 28 U.S.C. §2255. [Doc. 706].

This Court therefore has no authority to consider this motion. 28 U.S.C.

§2255(h).

     IT IS, THEREFORE, ORDERED that the Defendant’s pro se Motion

to Stay Proceedings pursuant to Fed.R.Civ.P. 62(b) [Doc. 704] and Motion

for Correction of Illegal Sentence [Doc. 711] are hereby DENIED.

                              Signed: May 21, 2013




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